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                                                                            United States District Court
                                                                              Southern District of Texas

                      UNITED STATES DISTRICT COURT                               ENTERED
                   FOR THE SOUTHERN DISTRICT OF TEXAS                            May 10, 2018
                            MCALLEN DIVISION                                  David J. Bradley, Clerk



UNITED STATES OF AMERICA                    §
                                            §
v.                                          §            Criminal No. 7:17−cr−00588
                                            §
Juan Fernando Mata, et al.                  §


                                 DISCOVERY ORDER

     Discovery obligations of the United States are set forth in Brady v. Maryland, 83 S.
Ct. 1194 (1963), United States v. Giglio, 92 S. Ct. 763 (1972), 18 U.S.C. § 3500,
Federal Rule of Evidence 404(b)(2), and Federal Rules of Criminal Procedure 12(b)(4),
12.1(b), 16, and 26.2. Compliance by the United States is ordered without the necessity
of the defendants having to file written motions with the Court.


     No motion for discovery shall be filed unless the United States has denied discovery
and the motion shall specifically set forth the requested discovery and must include a
certification that the request was made and the Government refused to disclose the
requested discovery. Requests to the United States for discovery shall not be filed with

the Court.


     IT IS ORDERED.

     DONE on May 10, 2018, at McAllen, Texas.
